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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                   25-20005-CR-BLOOM/ELFENBEIN
                        Case No. ___________
                                        18 u.s.c. § 371
                                                                                          mp
 UNITED STATES OF AMERICA

 vs.                                                                            Jan 8, 2025
 GILDA BETH ROSENBERG,
 a/k/a "Gilda Rosemberg Percezek,"                                                          Miami



                        Defendant.
                                                I

                                         INFORMATION

        The United States Attorney charges that:

                                      GENERAL ALLEGATIONS

        At all times relevant to this Information, unless otherwise noted:

        1.      GILDA       BETH       ROSENBERG, a/k/a         "Gilda       Rosemberg   Percezek"

 ("ROSENBERG"), was born in Colombia and was a United States citizen from birth. From 1983

 onward, ROSENBERG resided in the Southern District of Florida.

        2.      Relative 1 was a family member of ROSENBERG's who was born in Colombia

 and became a naturalized United States citizen in or about December 1993. Relative 1 periodically

 resided in the Southern District of Florida from approximately 1999 to approximately 2018, and

 currently resides in Colombia.

        3.      Relative 2 was a family member of ROSENBERG's who was born in Colombia

 and was a United States citizen from birth. Relative 2 graduated from college in the United States

 in 1982 and, at various times up through 2013, resided in the Southern District of Florida. In 2017,

 Relative 2 renounced his United States citizenship and became a citizen of Spain. Relative 2

 currently resides in Milan, Italy.
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        4.      Attorney 1 was a business and tax attorney practicing in the Southern District of

 Florida whose practice focused on high-net-worth individuals with cross-border family and

 business structures.

        5.      Return Preparer 1 was a tax return preparer who operated a business in Coral

 Gables, Florida. Return Preparer 1 died in 2020.

        6.      The Internal Revenue Service ("IRS") was a bureau of the United States

 Department of the Treasury responsible for administering the federal tax laws of the United States

 and collecting taxes owed to the United States.

        7.      United States taxpayers who had income in excess of a certain amount were

 obligated to file an individual income tax return ("Form 1040") with the IRS. On said return,

 United States taxpayers were obligated to report their worldwide income. Additionally, citizens

 and residents of the United States who had a financial interest in, or signature or other authority

 over, a financial account in a foreign country were required to disclose the existence of such

 account on Schedule B, Part III of their individual income tax return.

        8.      Pursuant to Title 31, Code of Federal Regulations, Sections 103.24, 103.27(c),

 103.27(d) and 103.59(b), recodified at Title 31, Code of Federal Regulations, Section 1010.350,

 citizens and residents of the United States who had a financial interest in, or signature or other

 authority over, one or more bank, securities and other financial accounts in a foreign country with

 an aggregate value of more than $10,000 at any time during a particular year were required to

 report such a relationship to the Financial Crimes Enforcement Network, a bureau of the United

 States Department of the Treasury, on a Report of Foreign Bank and Financial Accounts on

 FinCEN Report 114 (formerly TD F 90.22-1) (an "FBAR"). Up through the 2015 calendar year,




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 the FBAR was due by June 30 of the next year. For the 2016 calendar year and going forward, the

 FBAR was due on April 15 of the following year with an automatic extension to October 15.

                            Conspiracy to Defraud the United States
                        and to Commit Offenses Against the United States
                                       (18 u.s.c § 371)

        9.      From in or around 2009 through 2022, in the Southern District of Florida and

 elsewhere, the defendant,

                                   GILDA BETH ROSENBERG,
                                 a/k/a "Gilda Rosemberg Percezek,"

 did knowingly and willfully conspire, confederate, and agree together with Relative 1, Relative 2,

 and others known and unknown to the United States Attorney, to defraud the United States and its

 agencies by impeding, impairing, obstructing, and defeating the lawful government functions of

 the Internal Revenue Service of the United States Department of Treasury, in the ascertainment,

 computation, assessment, and collection of the revenue, that is, the federal income taxes of

 ROSENBERG, Relative 1, and, up through 2017, Relative 2, and to commit certain offenses

 against the United States, that is:

        a.       to willfully attempt to evade and defeat income tax due and owing to the

 United States of America, by ROSENBERG, Relative 1, and Relative 2, for the calendar years

 2010 through 2017 and by the Defendant and Relative 1 for the calendar years 2018 through 2022,

 by committing the following affirmative acts, among others: Concealing assets and income in

 foreign financial accounts, and filing false individual income tax returns, in violation of Title 26,

 United States Code, Section 7201; and

         b.      to knowingly and willfully fail to file with the Financial Crimes Enforcement

 Network, a bureau of the United States Department of the Treasury, an FBAR disclosing that

 ROSENBERG had a financial interest in, and signature and other authority over, a bank, securities


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 and other financial accounts in a foreign country, to wit:         financial and bank accounts in

 Switzerland which accounts had an aggregate value of more than $10,000 during the years 2010

 through 2021, as part of a pattern of illegal activity involving more than $100,000 in a 12-month

 period, in violation of Title 31 Code of Federal Regulations, Sections 1010.350, 1010.306(c)-(d)

 & 1010.840(b) (former Title 31 Code of Federal Regulations, Sections 103.24, 103.27(c)-(d) and

 103.59(b)); all in violation of Title 31, United States Code, Sections 5314 and 5322(b).

                               PURPOSE OF THE CONSPIRACY

        10.     It was the purpose of the conspiracy for ROSENBERG and her co-conspirators to

 defraud the United States and unjustly enrich themselves by, among other things, concealing tens

 of millions of dollars in undeclared foreign financial accounts, filing false tax returns, and evading

 tax on the unreported income.

                       MANNER AND MEANS OF THE CONSPIRACY

        The manner and means by which the defendant and her co-conspirators sought to

 accomplish the purpose and objects of the conspiracy included, among other things, the following:

        11.     From 2010 through 2017, ROSENBERG, Relative 1 and Relative 2 collectively

 and individually owned over $90 million in assets held in foreign financial accounts located in

 Andorra, Israel, Spain, and Switzerland. Between 2010 and 2017, ROSENBERG, Relative 1 and

 Relative 2 agreed to conceal those assets from IRS by failing to file FBARs reporting their

 respective ownership of the foreign financial accounts and filing individual income tax returns that

 falsely and fraudulently failed to report income generated by the assets in the undeclared foreign

 accounts.

         12.    At the instruction of Relative 2, ROSENBERG opened an account at Union

 Bancaire Privee Bank in Switzerland in 2010, which was assigned the code name "Meninas." Each

 year between 2011 and 2017, the Meninas account had a balance in excess of $10,000. The assets

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 in the Meninas account generated the following approximate amounts of income in the following

 years:

                           YEAR                                        INCOME

                            2011                                       $83,862.50

                            2012                                       $83,862.50

                            2013                                       $63,777.71

                            2014                                       $51,302.52

                            2015                                       $44,098.59

                            2016                                       $11,169.25

                            2017                                         $503.08



          13.      In 2017, ROSENBERG, Relative 1, and Relative 2 agreed to divide the family's

 assets between ROSENBERG and Relative 2. ROSENBERG, Relative 1, and Relative 2 agreed

 that:

                a. ROSENBERG would receive agricultural land in Colombia, operating companies

                   in Colombia and Ecuador, real property in Colombia, a condominium in Florida

                   owned by Relative 1, and approximately $15 million of the assets in the family's

                   undeclared foreign financial accounts;

                b. Relative 1 would retain the right during that individual's lifetime to the income

                   generated by the agricultural land in Colombia, operating companies in Colombia

                   and Ecuador, and real property in Colombia;

                c. ROSENBERG and Relative 2 would place $1 million in a foreign financial

                   account for Relative 1 's needs; and




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               d. Relative 2 would receive the remainder of the assets m the family's foreign

                  financial accounts.

        14.       As part of the plan to divide the assets, Relative 2 proposed to renounce his U.S.

 citizenship as a means to falsely and fraudulently legitimize the assets and income that had not

 been reported to the IRS. To that end, Relative 2 renounced his United States citizenship but failed

 to file the IRS Form 8854, Initial and Annual Expatriation Statement, which is required to be filed

 with the IRS when a U.S. citizen renounces their citizenship. On that Form, Relative 2 was

 obligated to report the income tax he owed on the net unrealized gain in his property as if the

 property had been sold for its fair market value on the day before his expatriation date.

        15.       As a further part of the scheme to hide the family assets from the IRS,

 ROSENBERG and Relative 1 agreed to sign documents in which they purported to "donate" the

 assets in the undeclared accounts to Relative 2.

        16.       Between 2017 and 2022, Relative 2 held approximately $15 million in foreign

 financial accounts for the benefit of ROSENBERG. Relative 2 periodically transmitted cash to

 ROSENBERG usually via third parties in response to ROSENBERG's requests. Relative 2 did

 so in a manner to conceal the origin of the funds, as Relative 2 expressed his concern the IRS

 would discover the family's undeclared assets and that the IRS would discover that he had failed

 to file a Form 8854.

         17.      At the direction of Relative 1, and in order to conceal ROSENBERG's financial

 interest in the undeclared offshore assets, Relative 2 placed approximately $12 million of

 ROSENBERG's assets into an "insurance wrapper" account held at a Swiss bank. An "insurance

 wrapper" account is an investment account around which was wrapped a life insurance policy.




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 Relative 2 caused himself to be identified as the owner of the insurance policy, Relative 1 as the

 insured, and ROSENBERG as the beneficiary.

        18.     In order to conceal the family's undeclared assets and to hide her interests in the

 assets held offshore by Relative 2, ROSENBERG willfully failed to file an FBAR for calendar

 years 2010 through 2021.

        19.     In order to conceal the family's undeclared assets and to hide her interests in the

 assets held offshore by Relative 2, ROSENBERG willfully filed income tax returns for calendar

 years 2010 through 2017 on which she:

                a.     Fraudulently underreported her interest income on Line 8a of the Forms

                       1040;

                b.     Fraudulently underreported her total income on Line 22 of the Forms 1040;

                       and

                c.     Falsely answered "No" to question 7(a) on Schedule B, Part III that asked

                       whether she had a financial interest in a foreign financial account.

                                          OVERT ACTS

        In furtherance of the conspiracy, and to achieve the purpose and objects thereof, at least

 one of the conspirators committed and caused to be committed, in the Southern District of Florida

 and elsewhere, at least one of the following overt acts, among others:

        1.      On or about September 17, 2017, Relative 2 sent an email to Return Preparer 1 in

 the Southern District of Florida who prepared income tax returns for Relative 1, Relative 2, and

 ROSENBERG, attached to which was a document that contained income and expense information

 to be reported on the 2016 Forms 1040 to be filed for Relative 1 and Relative 2, but which did not




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 include the interest and dividend income that they each earned from the assets in their foreign

 financial accounts in Andorra, Israel and Switzerland.

        2.      On or about October 12, 2018, ROSENBERG caused her return preparer to

 transmit from the Southern District of Florida to the IRS a 2017 Form 1040 on which she

 fraudulently underreported her interest income and falsely answered "No" to Question 7 on

 Schedule B, Part III, which asked whether she had an interest in a foreign financial account.

        3.      On or about June 11, 2019, ROSENBERG caused her return preparer to transmit

 from the Southern District of Florida to the IRS a 2018 Form 1040 on which she fraudulently

 underreported her interest income and falsely answered "No" to Question 7 on Schedule B, Part

 III, which asked whether she had an interest in a foreign financial account.

        4.      On or about August 20, 2019, Relative 2 sent a text message to ROSENBERG in

 the Southern District of Florida stating, in Spanish: "Keep talking about this with third parties, and

 sooner or later you'll have to face the consequences."

        5.      On or about September 22, 2020, ROSENBERG caused her return preparer to

 transmit from the Southern District of Florida to the IRS a 2019 Form 1040 on which she

 fraudulently underreported her interest income and falsely answered "No" to Question 7 on

 Schedule B, Part III, which asked whether she had an interest in a foreign financial account.

        6.      On or about September 3, 2021, ROSENBERG caused her return preparer to

 transmit from the Southern District of Florida to the IRS a 2020 Form 1040 on which she

 fraudulently underreported her interest income and falsely answered "No" to Question 7 on

 Schedule B, Part III, which asked whether she had an interest in a foreign financial account.




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       All in violation of Title 18, United States Code, Section 371.




                                     MARKENZY LAPOINTE
                                     UNITED STATES ATTORNEY




                                     ANA MARIA MARTINEZ
                                     ASSISTANT UNITED STATES ATTORNEY


                                     STUART M. GOLDBERG, ACTING DEPUTY
                                     ASSISTANT ATTORNEY GENERAL
                                     FOR CRIMINAL MATTERS
                                     TAX DIVISION, U.S. DEPARTMENT OF JUSTICE




                                     MARK F. DALY, SENI RLITIGATION COUNSEL
                                     STAN J. OKULA, SENIOR LITIGATION COUNSEL
                                     MARISSA R. BRODNEY, TRIAL ATTORNEY




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                                              DISTRICT   Docket 01/08/2025 Page 10 of 12
                              SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                             25-20005-CR-BLOOM/ELFENBEIN _
                                                           CASE NO.: ______________

v.
                                                           CERTIFICATE OF TRIAL ATTORNEY
GILDA BETH ROSENBERG,
a/k/a "Gilda Rosemberg Percezek,"
                     I                                     Superseding Case Information:
------------,--------
      Defendant.                                           New Defendant(s) (Yes or No) ___
Court Division (select one)                                Number of New Defendants _ _
   IElMiami             □
                      Key West          □ FTP              Total number of new counts __
       □
      FTL               □
                      WPB

I do hereby certify that:
  1.    I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
        witnesses and the legal complexities of the Indictment/Information attached hereto.
  2.    I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
        their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, 28 U.S.C. §3161.

  3.       Interpreter: (Yes or No) No
           List language and/or dialect: ___ ____

  4.       This case will take _0_ days for the parties to try.
  5.       Please check appropriate category and type of offense listed below:
           (Check only one)                       (Check only one)
           I   (Bl 0 to 5 days                D Petty
           II D 6 to 10 days                  D Minor
           III D 11 to 20 days                D Misdemeanor
           IV D 21 to 60 days                 f8J Felony
           V D 61 days and over

  6.       Has this case been previously filed in this District Court? (Yes or No) No
           If yes, Judge ___________ Case No. __________________
  7.       Has a complaint been filed in this matter? (Yes or No) No
           If yes, _____________ Magistrate Case No. ______________
  8.       Does this case relate to a previously filed matter in this District Court? (Yes or No) No
           If yes, Judge ___________ Case No. __________________
  9.       Defendant(s) in federal custody as of ________________________
  10.      Defendant(s) in state custody as of _________________________
  11.      Rule 20 from the _____ District of ______
  12.      Is this a potential death penalty case? (Yes or No) No
  13.      Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
           prior to August 8, 2014 (Mag. Judge Shaniek Mills Maynard)? (Yes or No) No
  14.      Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
           prior to October 3, 2019 (Mag. Judge Jared M. Strauss)? (Yes or No) No
  15.      Did this matter involve the participation of or consultation with Magistrate Judge Eduardo I. Sanchez
           during his tenure at the U.S. Attorney's Office, which concluded on January 22, 2023? No
  I 6.      Did this matter involve the participation of or consultation with Magistrate Judge Marty Fulgueira
           Elfenbein during her tenure at the U.S. Attorney's Office, which concluded on March 5, 2024? No
                                                                                              �

                                                                     0---= L---'                       (_____,
                                                           By:
                                                                  ANA MARIA MARTINEZ
                                                                  Assistant United States Attorney
                                                                  FL Bar No.            0735167
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                                                    UNITE D STATE S DISTRICT COU RT
                                                    SOUT HE RN DISTRICT OF FLORIDA

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  Case No: --------------------------------

  Count#: 1

       Title 18 United States Code Section 371

    Conspiracy to Defraud the United States and to Commit Offenses Against the United States
  *Max.Term of Imprisonment: 5 Years
  *Mand at ory Min. Term of Imprisonment ( if applicable): N/A
  *Max. Supervised Release: 3 Years
  *Max. Fine: $250,000 or tw ice the gross gain or loss resulting from the offense




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
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AO 455 (Rev. 01/09) Waiver ofan Indictment


                                      UNITED STATES DISTRICT COURT
                                                         for the
                                               Southern District of Florida

                  United States of America                  )
                             V.                             )    Case No.
                  Gilda Beth Rosenberg,                     ) 25-20005-CR-BLOOM/ELFENBEIN
           a/k/a "Gilda Rosemberg Percezek,"                )
                            Defendant                       )

                                             WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

       After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date: ________
                                                                                     Defendant's signature




                                                                               Signature of defendant's attorney



                                                                              Printed name of defendant's attorney




                                                                                       Judge's signature



                                                                                Judge 'sprinted name and title
